Case 6:16-cv-00210-PGB-DCI Document 136 Filed 05/25/18 Page 1 of 1 PageID 1621



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


 CHRISTINE JACKSON, DONALD
 JACKSON, ASHLEY MCCONNELL and
 GERALD THOMAS,

                        Plaintiffs,

 v.                                                        Case No: 6:16-cv-210-Orl-40DCI

 WENDY’S INTERNATIONAL, LLC,

                        Defendant.
                                            /

                                            ORDER

        On May 15, 2018, the parties informed the Court that they have settled the above-

 styled action. (Doc. 135). Accordingly, pursuant to Local Rule 3.08(b) of the Middle District

 of Florida, it is ORDERED that this case is ADMINISTRATIVELY CLOSED subject to the

 right of any party to file within sixty (60) days a stipulated form of final order or judgment

 or, on good cause shown, to move the Court to re-open the case for further proceedings.

 Failure to timely file a stipulated form of final order or judgment within sixty (60) days will

 result in the case being dismissed without prejudice without further notice to the parties.

 The Clerk of Court is DIRECTED to terminate all pending motions (Docs. 114, 121) and

 to administratively close the file.

        DONE AND ORDERED in Orlando, Florida on May 25, 2018.


 Copies furnished to:

 Counsel of Record
 Unrepresented Parties
